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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
                                     CRIMINAL MINUTES - SENTENCING AND JUDGMENT

                                        (     Amended                                               )
 Case No.        CR 07-1141-VBF                                                                    Date        December 29, 2008

 Present: The Honorable        Valerie Baker Fairbank, United States District Judge
                                                                                                               John Lulejian
             Kendra Bradshaw                              Katie Thibodeaux                                    Shawn Nelson
              Deputy Clerk                                 Court Reporter                                 Assistant U.S. Attorney

               Defendant                        Counsel for Defendant           Retd. DFPD      Panel                  Interpreter
             Joseph Carter                          John Littrell                      X                                  None
 PROCEEDINGS:                        SENTENCING AND JUDGMENT
    Refer to Judgment and Probation/Commitment Order; signed copy attached hereto.                   X Refer to separate Judgment Order.
    Imprisonment for years/months          on each of counts
    Count(s)                               concurrent/consecutive to count(s)
    Fine of $                              is imposed on each of count(s) concurrent/consecutive.
         Execution/Imposition of sentence as to imprisonment only suspended on count(s)
    Confined in jail-type institution for                                            to be served on consecutive days/weekends
         commencing
    years/months Supervised Release/Probation imposed on count(s)
    consecutive/concurrent to count(s)
    under the usual terms & conditions (see back of Judgment/Commitment Order) and the following additional terms and conditions, under
    the direction of the Probation Office:
         Perform                                         hours of community service.
         Serve                                           in a CCC/CTC.
         Pay             $                               fine amounts & times determined by P/O.
         Make            $                               restitution in amounts & times determined by P/O.
         Participate in a program for treatment of narcotic/alcohol addiction.
         Pay any fine imposed by this sentence & that remains unpaid at commencement of community supervision. Comply with
         rules/regulations of BICE, if deported not return to U.S.A. illegally and upon any reentry during period of supervision report to
         the nearest P/O within 72 hours.
         Other conditions:
    Pursuant to Section 5E1.2(e), all fines are waived, including costs of imprisonment & supervision. The Court finds the defendant
    does not have the ability to pay.
                                           per count, special assessment to the United States for a
    Pay       $                            total of                                                       $
    Imprisonment for months/years          and for a study pursuant to 18 USC
    with results to be furnished to the Court within     days/months                 whereupon the sentence shall be subject to
    modification. This matter is set for further hearing on
    Government's motion, all remaining count(s)/underlying indictment/information, ordered dismissed.
    Defendant informed of right to appeal.
    ORDER sentencing transcript for Sentencing Commission.                 Processed statement of reasons.
    Bond exonerated                      upon surrender                    upon service of
    Execution of sentence is stayed until 12 noon,
    at which time the defendant shall surrender to the designated facility of the Bureau of Prisons, or, if no designation made, to the
    U.S. Marshal.
    Defendant ordered remanded to/released from custody of U.S. Marshal forthwith.
    Issued Remand/Release           #
 X Filed and distributed judgment. ENTERED.
 X Other As stated on the record, the defendant sustains objections to the Presentence Report.
                                                                                                             1        :      14
                                                                           Initials of Deputy Clerk kb
cc:


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